           Case 5:18-cv-04081-BLF Document 77-1 Filed 07/20/22 Page 1 of 2


                   SETTLEMENT CONFERENCE STANDING ORDER
                   MAGISTRATE JUDGE NATHANAEL M. COUSINS

SCHEDULING
To coordinate scheduling, please contact courtroom deputy Lili Harrell at
Lili_Harrell@cand.uscourts.gov or 408-535-5343. Settlement conferences are typically held on
Tuesdays and Thursdays at 9:30 a.m. or 1:00 p.m.

Due to the COVID-19 public health emergency, the Court will hold settlement conferences by
Zoom and not in person. The Zoom settlement conference can be accessed by clicking the link
provided: https://cand-
uscourts.zoomgov.com/j/1606510291?pwd=Wk5BeTU0YVZZZlJVcEl0YzRCWXlmZz09

If a party would like to request an in-person settlement conference, they must do so within seven
days of receiving notice of the settlement conference.

A party seeking to continue a settlement conference must file a request in ECF as soon as
possible after meeting and conferring with opposing counsel. The request must demonstrate a
compelling reason for the continuance and state whether the opposing parties object to the
continuance. Any party that objects to the continuance must file an opposition in ECF within
two days of the filing date of the request.

Contact courtroom deputy Lili Harrell immediately if the case settles before the settlement
conference.

PERSONS REQUIRED TO ATTEND SETTLEMENT CONFERENCE
All parties and their counsel are required to attend the settlement conference via Zoom, not by
telephone. Non-natural persons must be represented by a person with unlimited authority to
negotiate a settlement. An insured party must appear with a representative of the carrier with
full authority to negotiate up to the limits of coverage. A person who must call another person
not present at the conference before agreeing to a settlement does not have unlimited authority.

SETTLEMENT CONFERENCE STATEMENT
No later than seven days prior to the conference, each party must submit a settlement conference
statement via email in PDF format to ncpo@cand.uscourts.gov. Each party must also serve its
statement on opposing counsel. The statement must not be filed in ECF. The statement must
include:

(a)   the identity of the attorney(s) and clients attending the settlement conference;
(b)   a brief statement of the facts of the case;
           Case 5:18-cv-04081-BLF Document 77-1 Filed 07/20/22 Page 2 of 2


(c)   a brief statement of the claims and defenses raised, including statutory or other grounds
      upon which the claims are founded;
(d)   a candid evaluation of the parties’ likelihood of prevailing on the claims and defenses;
(e)   a description of the major issues in dispute and any discrete issue that, if resolved, would
      facilitate the resolution of the case;
(f)   a summary of the proceedings to date;
(g)   a listing of all pending motions;
(h)   the relief sought;
(i)   the party’s position on settlement, including present demands, offers, and a history of past
      settlement discussions.

No further materials should be submitted to the Court unless requested.

IT IS SO ORDERED.                                             _______________________
                                                              Nathanael M. Cousins
Updated: October 7, 2021                                      U.S. Magistrate Judge
